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 8                                     UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11    UNITED STATES OF AMERICA,                        No. 2:19-cr-00104-TLN
12                        Plaintiff,
13             v.                                      ORDER
14    JORGE ALTAMIRANO ZARATE,
15                        Defendant.
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18            This matter is before the Court on the Government’s Motion to Dismiss the Indictment.

19   (ECF No. 76.) Also before the Court is Defendant Jorge Altamirano Zarate’s (“Defendant”)

20   Motion to Dismiss the Indictment with Prejudice and Request to Adopt Factual Basis for Ruling.

21   (ECF No. 78.) The Government filed an opposition. (ECF No. 80.) For the reasons set forth

22   below, the Court GRANTS the Government’s motion and GRANTS in part and DENIES in part

23   Defendant’s motion.

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 1          I.      FACTUAL AND PROCEDURAL BACKGROUND

 2          On March 2, 2020, United States Border Patrol officers apprehended Defendant illegally

 3   entering the United States from Mexico. (ECF No. 78 at 1–2.) On March 5, 2020, Defendant

 4   appeared in the Southern District of Texas, was appointed counsel, pleaded guilty to illegal entry

 5   in violation of 18 U.S.C. § 1325(a)(1), was adjudged guilty, and was placed on five years of

 6   unsupervised probation. (Id. at 2.)

 7          On March 6, 2020, Defendant was arrested on a warrant issued by the Eastern District of

 8   California based on charges pending in this district. (Id.) More specifically, the Indictment

 9   charges Defendant with one count of conspiracy to distribute methamphetamine in violation of 21

10   U.S.C. §§ 846, 841(a)(1) and four counts of distribution of methamphetamine in violation of 21

11   U.S.C. § 841(a)(1). (ECF No. 12.) Defendant was arraigned on the charges in this matter in the

12   Southern District of Texas. (ECF No. 78 at 2.) Defendant was appointed counsel, held without

13   bond, and ordered removed to the Eastern District of California. (Id.)

14          Defendant made his initial appearance in this district on May 19, 2020. (Id.) The

15   Government moved for detention, and Defendant was ordered detained on May 20, 2020. (Id.)

16   After a bail review hearing on July 16, 2020, Defendant was ordered to be released on the

17   following day. (Id.) On the morning of July 17, 2020, United States Immigration and

18   Enforcement (“ICE”) officials took Defendant into custody and deported him. (Id. at 3.) The

19   Government filed its motion to dismiss the Indictment on September 9, 2020, and Defendant filed

20   his motion to dismiss on September 11, 2020. (ECF Nos. 76, 78.)
21          II.     STANDARD OF LAW

22          A court may dismiss an indictment under its supervisory powers for three reasons,

23   including: (1) to remedy a constitutional or statutory violation; (2) to protect judicial integrity by

24   ensuring that a conviction rests on appropriate considerations validly before a jury; or (3) to deter

25   future illegal conduct. United States v. Barrera-Moreno, 951 F.2d 1089, 1091 (9th Cir. 1991)

26   (citations omitted). However, dismissal is only “appropriate when the investigatory or
27   prosecutorial process has violated a federal constitutional or statutory right and no lesser remedial

28   action is available.” Id. at 1092.
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 1          III.    ANALYSIS

 2          The parties agree the Indictment should be dismissed. Their disagreement lies in whether

 3   the Indictment should be dismissed with or without prejudice.

 4          At the outset, the Court agrees dismissal is appropriate. “If the government, by placing [a

 5   defendant] in immigration detention or removing him, jeopardizes the district court’s ability to try

 6   him, then the district court may craft an appropriate remedy.” United States v. Santos-Flores, 794

 7   F.3d 1088, 1091 (9th Cir. 2015). Here, it is undisputed that the Government’s failure to intervene

 8   in Defendant’s deportation has jeopardized the Court’s ability to try Defendant. Moreover, there

 9   is no indication the Government has made any provisions for Defendant’s return to the United

10   States, and Defendant’s whereabouts are currently unknown. See United States v. Perez-Canez,

11   No. CR-18-00229-PHX-JJT, 2020 WL 1000029, at *3 (D. Ariz. Mar. 2, 2020) (“Since neither

12   party purports to know where Defendant is located and his release conditions do not require him

13   to facilitate his attendance at further proceedings in this matter, the Court finds that ICE’s actions

14   have jeopardized the Court’s ability to try Defendant and therefore dismisses the Indictment on

15   those grounds.”).

16          As to whether the Indictment should be dismissed with or without prejudice, Defendant

17   argues the Court should dismiss the indictment with prejudice because Defendant — now barred

18   from reentry into the United States — “suffers permanent prejudice to the fundamental fairness of

19   a trial on these charges.” (ECF No. 78 at 9.) For its part, the Government argues that dismissal

20   without prejudice will adequately remedy Defendant’s constitutional concerns and is a “lesser
21   remedial action” pursuant to Barrera-Moreno. (ECF No. 80 at 2.)

22          The Court has read and considered the case law cited by both parties. Notably, Defendant

23   does not provide binding authority requiring the Court to dismiss the indictment with prejudice.

24   Further, the Government points to several district court decisions wherein courts have chosen to

25   dismiss indictments without prejudice under similar circumstances. See, e.g., United States v.

26   Coronado-Vejar, No. CR-19-01962-001-TUC-RM (BGM), 2020 WL 4334983, at *2 (D. Ariz.
27   July 28, 2020); United States v. Resendiz-Guevara, 145 F. Supp. 3d 1128, 1140 (M.D. Fla. 2015).

28   In this case, there is no evidence of bad faith on the part of the Government that might warrant
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 1   dismissal with prejudice. See Perez-Canez, 2020 WL 1000029, at *3. Should Defendant reenter

 2   the United States and be prosecuted on these charges in the future, “the parties will be free to

 3   raise arguments related to the prejudice that resulted to Defendant from deportation during his

 4   criminal case and his subsequent inability to adequately communicate with his counsel.”

 5   Coronado-Vejar, 2020 WL 4334983, at *2. For all these reasons, the Court DISMISSES the

 6   Indictment without prejudice.

 7          In addition, Defendant requests the Court adopt the factual basis as set forth in § I of his

 8   motion. (See ECF No. 78 at 1.) The Government does not respond to Defendant’s request.

 9   Therefore, the Court GRANTS Defendant’s request and ADOPTS the factual basis as set forth in

10   § I of Defendant’s motion (ECF No. 78 at 1–3).

11          IV.     CONCLUSION

12          For the foregoing reasons, the Court GRANTS the Government’s motion (ECF No. 76)

13   and GRANTS in part and DENIES in part Defendant’s motion (ECF No. 78.) Defendant’s

14   motion is GRANTED only as his to request to adopt the factual basis as set forth in § I of his

15   motion. (See ECF No. 78 at 1–3). The Court DISMISSES the Indictment (ECF No. 12) without

16   prejudice and directs the Clerk of Court to close the case.

17          IT IS SO ORDERED.

18   DATED: November 2, 2020

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22                                                                 Troy L. Nunley
                                                                   United States District Judge
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